_ Roman F. K`,’
Case 7:16-cv-06936-NSR Document 55 Fl|ed 06/20/17 Page 1 of 10 ' ‘-'

Case 7:16-cv-06936-NSR Document 54-1 Filed 06»'16/17 Page 1 of 10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WESLEY VINCENT, NOELLE :

MORGANTE, DANIEL RICHMAN, AND = Case No.: 7=16-cv-06936-NSR
ASHLEY PELUCHETTE individually on '

behalf of himself and on behalf of all others

similarly situated and John Does (l -100) on

behalf of themselves and all others similarly

situated,

Plainliffs,
vs.

PEOPLE AGAINST DIRTY, PBC. and
METHOD PRODUCTS, PBC.

Defendants.

 

-[-RRQ_BO.S.E.D] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION
SETTLEMENT, CERTIFYING CLASS, AWARDING ATTORNEYS’ FEES AND
SERVICES AWARDS, ANI) FINAL JUDGMENT

On the 12th day of May 2017, a hearing was held before this Court to determine: (a)
whether the Stipulation of Class Action Settlement Agreement (“Agreement”) should be granted
final approval as fair, reasonable, and adequate; (b) Whether the proposed class should be
certified for settlement purposes; (c) whether a judgment granting approval of the Agreement
and dismissing the Action with prejudice should be entered; and (d) whether Class Counsel’s
application for attorneys’ fees and expenses and a service award for Plaintiffs should be granted.

Having duly considered all papers filed and arguments presented, IT IS HEREBY

ORDERED and ADJUDGED as follows:

mm
w_ _= 1a -\-B-m.__l--.__.n....___,,
' -__-_.,_..._r___, _: __;'_r-_=_s._¢

l USI}C SDI°°~.'Y

§§ redeemsz
§§ arsst:rrsoi\:ICALLY russo

§ ) r`\.,".£
:~ :,:'-\_- , r,'-.'

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 2 of 10
Case 7:16-cv-06936-NSR Document 54-1 Filed 06/16/17 Page 2 of 10

l. Unless defined herein, all defined terms in this Proposed Final Approval Order
shall have the respective meanings set forth in the Settlcment Agreement.

2. This Court has jurisdiction over the subject matter of the Action and over all
parties to the Action, including all Settlcment Class Members.

3. The Court preliminarily approved the Settlcment Agreement and entered the
Preliminary Approval Order on January 9, 2017.

M§<_=

4. Notice was published under the terms of the Preliminary Approval Order.

5. The Court has determined that the Notice given to the Settlcment Class, in
accordance with the Notice Plan in the Agreement and the Preliminary Approval Order, fully and
accurately informed members of the Settlcment Class of all material elements of the Settlcment
and constituted the best notice practicable under the circumstances, and fully satisfied the
requirements of due process, Federal Rule of Civil Procedure 23, and all applicable law.

6. The Settlement Class Members received notice of (a) the pendency of the Action;
(b) the terms of the proposed Settlement, including the Release; (c) their rights under the
proposed Settlement; (d) their right to exclude themselves from the Settlcment Class and the
proposed Settlcment; (c) their right to object to any aspect of the proposed Settlcment; (f) their
right to appear at the Final Approval Hearing; (g) Class Counsel’s request for attorneys’ fees and
expenses and an incentive award to the Class Repl'esentatives; and (h) the binding effect of this
Final Judgment and Order Approving Settlcment on all Persons who did not timely exclude
themselves from the Settlcment Class.

7. 'l`he Court finds also finds that the appropriate state and federal officials were

timely notified of the Settlcment Agreement under the Class Action Fairness Act of 2005

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 3 of 10
Case 7:16-cv~06936-NSR Document 54-1 Filed 06/16/17 Page 3 of 10

(CAFA), 28 U.S.C. § 1715 and that ninety (90) days have passed without comment or objection

from any governmental entity.

Am)roval of the Settlcment

8.

9.

The Court grants final approval to the proposed settlement
Factors supporting the grant of final approval to this settlement include:
The settlement was the product of arms-length negotiations among experienced

counsel, with no evidence of collusion.

. If the case did not settle, continued litigation would be time consuming,

complicated and expensive The parties have not litigated the issue of class
certification or engaged in extensive motion practice. They have not completed
discovery or proffered expert testimony. Settlcment at this stage avoids the
expenditure of the parties’ and the Court’s resources.

The reaction of the class has been favorable. 54,641 class members submitted
valid claims. In contrast, only one class member has opted out of the settlement
and only one has submitted an objection. This factor weighs in favor of final

approval.

. The parties have described the information they have exchanged to the Coutt, and

the Court finds that each side had sufficient information to assess the strengths
and weaknesses of their claims and defenses.

If the case had not settled, plaintiffs faced considerable risks in establishing
liability, maintaining certification ofa litigation class and establishing damages

The settlement guarantees a result for the class and eliminates these risks.

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 4 of 10
Case 7:16-cv-06936-NSR Docurnent 54-1 Filed 06/16/17 Page 4 of 10

f. The amount of the settlement is reasonable given the strengths and weaknesses of
the case. The Court notes that under the proposed plan of allocation, many class
members will receive substantial percentages of the purchase price of the products
and in some cases, full refunds.

lO. The Court also held a hearing on May 12, 20]7, at which time the parties,
Settlcment Class Members, and Objector Hammack were afforded the opportunity to be heard in
support of or in opposition to the Settlement.

11. The Court has read and considered the written objection filed by Settlcment Class
Member Ashley Hammack.

12. Having carefully considered Objector Hammack’s objection, the Court hereby
overrules Ms. Hammack’s objection on the merits in its entirety.

13. As a preliminary matter, Ms. Hammack failed to comply with the Court’s Order
Granting Preliminary Approval by failing to sign her objection,

14. Even considering Ms. Hammack’s objection on its merits, the Court notes that
many of Ms. Hammack’s arguments do not even apply to this settlement and are irrelevant Ms.
Hammack’s arguments concerning the relief to the class and the amount of attorneys’ fees are
addressed elsewhere.

15. The terms and provisions of the Agreement have been entered into in good faith
and are hereby fully and finally approved as fair, reasonable, and adequate as to, and in the best
interests of, each of the Parties and the Settlcment Class Members.

16. The Settlcment Administrator reports that it has received 54,641 valid claims.

17. The Court notes that the Parties have agreed to distribute any funds which might

otherwise have gone to the distribution of coupons or to charitable organizations under the terms

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 5 of 10
Case 7116-cv-06936-NSR Document 54-1 Filed 06116/17 Page 5 of 10

of the Settlcment Agreement to the claimants, as set forth in the Plan of Allocation. The Court
approves this measure and finds that because it only increases the benefits to the claimants, a
revised notice is not required.

18. Accordingly, the Court hereby directs that the Settlcment shall be implemented in
accordance with the terms of the Agreement (all of which terms and definitions are adopted and
incorporated herein by reference) and the Plan of Allocation at 1[ 38.

l9. The terms of the Agreement, and of this Final Judgment and Order Approving
Settlement, shall be forever binding on, and shall have resjudi'cam and preclusive effect in, all
pending and future lawsuits maintained by Plaintiffs and all other Settlcment Class Members
who did not timely exclude themselves from the Settlcment Class, as well as their heirs,
executors, and administrators, successors, and assigns.

20. Defendants are ordered to implement the terms and conditions of the Agreement,
including payment to all Settlcment Class Members who have not excluded themselves from this
Settlcment and who submit a timely, valid Claim pursuant to the Agreement, and to implement
the terms of the injunctive relief agreed to in the Stipulation of Settlement.

Class Certification

21. The Court finds, for purposes of effectuating this Settlcment only, that the
prerequisites for a class action under Federal Ru|e of Civil Procedure 23(a) and (b)(?)) have been
satisfied in that:

(a) The number of Class Members is so numerous thatjoinder of all members thereof is

impracticable;

(b) There are questions of law and fact common to the Class, including the meaning and

importance of the misrepresentations at issue to a reasonable consumer;

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 6 of 10
CaSe 7:16-cv-06936-NSR Document 54-1 Filed 06/16/17 Page 6 of 10

(c) The claims of the Court-appointed Class Representatives are typical of the claims of
the Class they represent because they have alleged that they purchased the products
containing the alleged misrepresentations at issue;
(d) The Class Representatives have fairly and adequately represent the interests of the
Class and have no interests in conflict with the class;
(e) The questions of law and fact common to the members of the Class predominate over
any questions affecting only individual members of the Class;
(f) A class action is superior to other available methods for the fair and efficient
adjudication of the controversy; and
(g) The class is ascertainable because the membership can be determined with reference
to objective criteria, i.e. whether a class member bought the Products at issue.
22. The Court grants final certification for purposes of settlement to the proposed
Settlcment Class, defined as:

All persons and entities that, during the Class Period, both resided

in the United States and purchased in the United States any of the

Products for use and not for resale. Excluded from the Settlement

Class are: (a) Defendants’ board members or executive-level

officers, including its attorneys; (b) governmental entities; (c) the

Court, the Coult’s immediate family, and the Coult’s staff; and (d)

any person that timely and properly excludes himself or herself

from the Settlcment Class in accordance with the procedures

approved by the Court.
23. Mr. W.A. Johnson of Lithonia, Georgia, has made a timely and valid request for

exclusion I-Ie is excluded from the Settlement Class and is not bound by this Order.

24. Pursuant to Federal Ru|e of Civil Procedure 23(c)(3), all such Persons who satisfy

the Class definition above, except those Class Members who timely and validly excluded

themselves from the Class, are Settlcment Class Members bound by this Judgment.

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 7 of 10
Case 7:16-cv-06936-NSR Document 54-1 Filed 06/16/17 Page 7 of 10

25. The Court reaffirms the appointment of Plaintiffs Wes|ey Vincent, Noelle
Morgante, Daniei Richman, and Ash|ey Peluchette as Class Representatives, and finds that they
have adequately represented the Settlcment Class for purposes of entering into and implementing
the Agreement.

26. The Court reaffirms the appointment of Adam Gonnelli and Jason Sultzer of the
Sultzer Law Group, 85 Civic Center Plaza, Suite 104, Poughkeepsie, NY, 12601, and Joshua H.
Eggnatz of Eggnatz, Lopatin & Pascucci, LLP, 5400 S. University Drive, Suite 417, Davie, FL
33328 as counsel for the Settlcment Class (“Class Counsel”).

27. The Court finds that these lawyers are competent and capable of exercising their
responsibilities as Class Counsel, and finds that Class Counsel has adequately represented the
Settlcment Class for purposes of entering into and implementing the Agreement.

Attorneys’ Fees

28. The Court has considered the submissions by the Parties and all other relevant
factors, including the result achieved and the efforts of Class Counsel in prosecuting the claims
on behalfof the Class.

29. The Court notes that the Settlcment Agreement provides that counsel may seek up
to one-third of the Settlcment Fund as attorneys’ fees (Settlement Agreement VIII.S. l), and that
this amount was negotiated with Defendants only after the Parties reached agreement on the
other substantive terms of the settlement

30. Class Counsel moved for an award of one-third of the Settlcment fund as fees on
March 13, 201?.

31. After carefully considering Class Counsel’s application, the Court awards Class

Counsel 30% of the settlement fund, equal to $840,000, as attorney’s fees.

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 8 of 10
Case 7:16-cv-06936-NSR Docurnent 54-1 Filed 06116/17 Page 8 of 10

32. Factors supporting the grant of fees include:
a. The time and labor expended by Class Counsel on behalf of the Class;
b. The complexity and risks of the litigation;
c. The results achieved in this settlement including both monetary and injunctive
relief;
d. The quality of the representation;
e. The contingent nature of the fce;
f. The reasonableness of the request fee under both the percentage method and the
lodestar cross check; and
g. The value ofthe litigation to the public.
Expenses
33. The Court grants Class Counsel’s request for reimbursement of expenses in the
amount of $25,799.85.
34. The expenses incurred by Class Counsel were advanced with no guarantee of
recovery and were required to prosecute the case.
Service Awards
35. The Court grants Plaintiffs’ request for service awards in the amount of
$10,000.00 ($2,500.00 per Class Representative).
36. The Plaintiffs served as adequate class representatives and performed work on
behalf of the absent class members.
37. The Fees and Expense Award and Plaintiffs’ Service Awards shall be paid by

Defendants pursuant to the time table set forth in the Stipulation of Settlement.

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 9 of 10
Case 7:16-cV-06936-NSR Document 54-1 Filed 06/16!17 Page 9 of 10

Plan of Allocation

38. The common fund shall be distributed as follows:

Attorneys’ Fees: $840,000.00
Expenses: $25,799.85
Service Awards: $10,000.00

Claims Administration: $404,697.20

Distributions to Claimants: $1,5 l 9,502.95
Common Fund: $2,800,000.00

Remaining Funds

39. Pursuant to the Settlcment Agreement, any funds remaining in the Settlcment
Fund as a result of checks that have not been cashed after six months from the date of issue shall
be donated to The Sierra C|ub, Earth Echo International, and the Conservation Alliance in equal
shares.

Final Judgnlent

40. Finding that no reason exists for delay in ordering final judgment pursuant to
Federal Rule of Civil Procedure 54(b), the clerk is hereby directed to enter this Judgment
forthwith.

41. This Action (and any and all claims asserted herein at any time) is dismissed in its
entirety, on the merits, with prejudice and without leave to amend, with each Party to bear
hisfherfits own costs and attorneys’ fees (except as otherwise expressly provided herein), and all
Settlcment Class Members who did not timely and properly execute and submit a Request for
Exclusion shall be forever barred and permanently enjoined from starting, continuing, or

participating in, litigating, or receiving any benefits or relief from any other lawsuit, arbitration,

 

Case 7:16-cv-06936-NSR Document 55 Filed 06/20/17 Page 10 of 10
Case 7:16-cv-06936-NSR Document 54-1 Filed 06116/17 Page 10 of 10

or administrative or regulatory proceeding or order based on or relating to the claims, facts, or
circumstances in this Action and/or the Released Claims except claims relating to the
enforcement of the Settlcment of the Action. The Released Claims are hereby compromised,
settled, released, discharged and dismissed as against the Released Persons on the merits and
with prejudice by virtue of the proceedings herein and this Order and Final Judgment.

42. The Parties are hereby authorized without needing further approval from the
Court to agree to and adopt such ministerial modifications and expansions of the Stipulation
which are consistent with this Judgment and do not limit the rights of Class members under the

Stipulation.

SO ORDERED.

DATED: jan 10 ,2017 f
' \ [;lonorable Nelson S. Roman

10

 

